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                     WHATSAPP INC. and FACEBOOK, INC.
            11

            12                                     UNITED STATES DISTRICT COURT

            13                                 NORTHERN DISTRICT OF CALIFORNIA

            14

            15       WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
                     and FACEBOOK, INC., a Delaware
            16       corporation,                                   DECLARATION OF JULIAN A. LAMM IN
                                                                    SUPPORT OF PLAINTIFFS’ OPPOSITION
            17                                                      TO DEFENDANTS’ MOTION FOR
                                     Plaintiffs,                    SANCTIONS
            18
                           v.                                       Date:
            19                                                      Time:
                     NSO GROUP TECHNOLOGIES LIMITED                 Courtroom:
            20       and Q CYBER TECHNOLOGIES LIMITED,              Judge:     Hon. Phyllis J. Hamilton

            21                       Defendants.

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  COOLEY LLP
                                                                                    DECLARATION OF JULIAN A. LAMM
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                               1.                      CASE NO. 4:19-CV-07123-PJH
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              1      I, Julian A. Lamm, declare:

              2             1.      I am an attorney with the law firm of White & Case LLP, which provides oversight of

              3      international litigation matters (i.e., matters outside the United States) for Facebook, Inc.

              4      (“Facebook”). White & Case LLP does not represent Facebook in this U.S. litigation. The

              5      information in this declaration is based on my personal knowledge of this matter and information I

              6      obtained following a reasonable investigation of the events described below. If called as a witness, I

              7      could competently testify to the truth of each statement.

              8             2.      I am currently overseeing litigation in Israel in which eight current and former NSO

              9      Group employees filed a lawsuit and a motion for preliminary injunction against Facebook because

            10       Facebook disabled their Facebook and Instagram accounts. Facebook has defended itself on grounds

            11       that the terms of service entitle it to take enforcement action against user accounts that engage in,

            12       facilitate, or support others in executing cyber intrusions against Facebook’s platform, products, and

            13       servers.

            14              3.      The status of the U.S. litigation involving Facebook, WhatsApp Inc. (“WhatsApp”),

            15       and NSO Group Technologies Limited (“NSO Group”) was relevant to the ongoing litigation in

            16       Israel that I was overseeing, in particular, Facebook’s lis alibis pendens defenses. Facebook has

            17       argued that the Israeli litigation should be stayed on account of the previously filed U.S. litigation

            18       and that NSO Group is improperly “forum shopping” in Israel to undermine the U.S. litigation.

            19       Indeed, I understand, from having reviewed an English translation of a cross examination transcript,

            20       that the petitioner in the Israeli litigation testified, under oath, that NSO Group is funding and

            21       organizing the Israeli litigation for the eight current and even former NSO Group employees.

            22              4.      On January 28, 2020, I contacted the law firm of Fischer, Behar, Chen, Well, Orion &

            23       Co. (“FBC”) in Israel, counsel of record for Facebook in the Israeli litigation, and requested that it

            24       contact the Central Authority in Israel to inquire about the status of Facebook and WhatsApp’s

            25       application for service under the Hague Convention in the U.S. litigation.

            26              5.      On February 25, 2020, FBC emailed three attorneys at White & Case, including me,

            27       regarding the status of that application and other unrelated matters. In that email, FBC reported that

            28       it had received a letter from the Central Authority on February 25, 2020, that purported to identify
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ATTO RNEY S AT LAW
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                                                                       2.                       CASE NO. 4:19-CV-07123-PJH
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              1      technical deficiencies in Facebook and WhatsApp’s application for Hague service.

              2             6.      My colleagues and I inadvertently overlooked this February 25 email from FBC. I did

              3      not forward that email or otherwise communicate its contents to anyone, including Facebook and

              4      WhatsApp, their service agent, or their counsel in this case. I have investigated this matter and have

              5      confirmed that no other person at White & Case communicated with Facebook, WhatsApp, or its

              6      counsel about the February 25 letter or the Central Authority’s objections to the Hague service

              7      application.

              8             7.      I first became aware of Central Authority’s February 25 letter on March 5, 2020, after

              9      an attorney at Facebook inquired about my receipt of such letter or FBC’s February 25 email.

            10              8.      I first communicated with Facebook and WhatsApp regarding the February 25 letter

            11       on March 5, 2020.

            12              9.      I first communicated with counsel for Facebook and WhatsApp in this litigation at

            13       Cooley LLP on March 5, 2020. I had no communications with Cooley regarding this litigation prior

            14       to March 5.

            15              I declare under penalty of perjury that the foregoing is true and correct. Executed on March

            16       20, 2020, in Los Angeles, California.

            17                                                      /s/ Julian A. Lamm
                                                                    Julian A. Lamm
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